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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                             DAVENPORT DIVISION



JOHN DOE,                                              CASE NO. 3-19-CV-00047

     Plaintiff,

v.

UNIVERSITY OF IOWA; BOARD OF                         JOINT ESI STATUS REPORT
REGENTS, STATE OF IOWA, TIFFINI
STEVENSON EARL, individually and in
official capacity, IRIS FROST, individually
and in official capacity, LYN REDINGTON,
individually and in official capacity,
ANGIE REAMS in official capacity,
CONSTANCE SCHRIVER CERVANTES,
individually and in official capacity, JOHN
KELLER, individually and in official
capacity, MONIQUE DICARLO,
individually and in individual capacity,
MARK BRAUN, individually and in official
capacity,

     Defendants.



         COME NOW, the parties, pursuant to the Court’s March 3, 2020 Order, and

submit this Joint ESI status report, stating to the Court as follows:

     1. Without having a copy of Plaintiff’s discovery requests, the following individuals

         could have electronically stored information relating to this case:

            a. Plaintiff John Doe (pseudonym)
            b. Sally Roe (pseudonym)
            c. Lisa Roe (pseudonym)
            d. Tiffini Stevenson Earl
            e. Connie Schriver Cervantes

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      f. John Keller
      g. Monique DiCarlo
      h. Mark Braun
      i. Iris Frost
2. Relevant and discoverable ESI is likely to include emails among or between

   Plaintiff, his accusers, and UI staff who participated in the student disciplinary

   process with regard to this case. Other discoverable information may include

   notes from witness interviews, memoranda, letters, reports, calendar entries,

   hearing audio, copies of evidence provided to investigators, and other records

   from the student disciplinary process. Potentially relevant ESI might also include

   records of student disciplinary proceedings involving minority or female

   respondents or other statistical summaries, though Defendants will object to

   providing any information which might violate the University of Iowa’s

   responsibilities with regard to FERPA and other applicable privacy laws. Plaintiff

   has indicated that he will not request native-format files, and as such, files

   relating to Plaintiff’s student conduct proceeding will be provided in PDF format.

3. Defendants will search their records for relevant documents between January

   2016 and July 2018.

4. The parties will revisit the specific format for records searches once Defendants

   have been provided with Plaintiff’s discovery requests.

5. Given the relatively small number of documents at issue in this case, the parties

   do not anticipate the need to utilize algorithms to search their records.

   Defendants have requested that the individuals listed above provide all

   documents even tangentially related to this matter for review and potential

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   production. Defendant UI will request keyword email searches formulated from

   variations of the names of Plaintiff and his two accusers for the time period at

   issue. The parties will collaborate to address any additional keyword searches as

   the need arises.

6. The parties have yet to exchange initial disclosures, but the parties are aware of

   the existence of ESI as outlined in this status report.

7. Defendants have issued litigation holds to all of the named Defendants in this

   case.

8. Defendant University of Iowa utilizes cloud storage for data relating to university

   email accounts and phone services. Student records and the databases relevant to

   this case are not stored in the cloud.

9. The parties are aware that Plaintiff frequently uses at least one social media

   account. Defendants anticipate that they will request information relating to

   Plaintiff’s use of various social media accounts, including his usernames, when

   the accounts were established, whether the accounts are “public” or “private”

   accounts. Defendants further anticipate requesting copies of any and all posts or

   messages relating to this case or which demonstrate Plaintiff’s emotional well-

   being throughout the time period at issue in this case and to present.

10. The parties do not anticipate the need for a phased discovery plan at this time.

11. The parties do not anticipate the need for expert witnesses relating to ESI in this

   case.




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12. Given the relatively small number of documents in this case, the parties do not

   anticipate needing a cost-sharing model with regard to the discovery or review of

   case-related ESI.

13. Defendants will request information relating to social media as outlined in

   paragraph 9. The parties do not anticipate further discovery relating to social

   media use.

14. The parties have not agreed on a stipulate pursuant to Federal Rule of Evidence

   502(e).

                                           Respectfully Submitted,
                                           THOMAS J. MILLER
                                           Attorney General of Iowa

                                           /s/ Kayla Burkhiser Reynolds
                                           KAYLA BURKHISER REYNOLDS
                                           /s/ Christopher J. Deist
                                           CHRISTOPHER J. DEIST
                                           Assistant Attorneys General
                                           Hoover Building, Second Floor
                                           1305 East Walnut Street
                                           Des Moines, Iowa 50319
                                           PHONE: (515) 281-7240
                                           FAX: (515) 281-7219
                                           christopher.deist@ag.iowa.gov
                                           kayla.burkhiser@ag.iowa.gov
                                           ATTORNEYS FOR DEFENDANTS

                                           /s/ Rockne Cole
                                           ROCKNE COLE
                                           209 E. Washington Street, Suite 304
                                           Iowa City, Iowa 52240
                                           (319) 774-8552
                                           rockne@colelawfirmiowa.com
                                           ATTORNEY FOR PLAINTIFF




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                                                     PROOF OF SERVICE

                                  The undersigned certifies that the foregoing instrument was
                                served upon each of the persons identified as receiving a copy by
                                delivery in the following manner on March 31, 2020:

                                        U.S. Mail                      FAX
                                        Hand Delivery                  Overnight Courier
                                        Federal Express                Other
                                        CM/ECF

                                Signature: /s/AUDRA DRISH




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